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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 PENNSYLVANIA VOTERS                                   No. 4:20-CV-01761
 ALLIANCE, STEPHANIE
 BOROWICZ, KRISTINE ENG,                               (Judge Brann)
 THEODORE A. DANNERTH, ERIC
 KRONER, ERIC NELSON, DARYL
 METCALFE, DAWN WETZEL
 KEEFER, RUSS DIAMOND, CHRIS
 DUSH, JIM GREGORY, FRANCIS
 RYAN, MICHAEL HARVEY, DAVID
 TORRES, and DASHA PRUETT,

               Plaintiffs,

         v.

 CENTRE COUNTY, DELAWARE
 COUNTY, and THE CITY OF
 PHILADELPHIA

              Defendants.

                                       ORDER

        AND NOW, this 29th day of September 2020, IT IS HEREBY ORDERED

that:

        1.    The Court will hold a telephonic status conference on October 1,

              2020 at 3:00 p.m.

        2.    Counsel for Plaintiffs shall initiate the call to Chambers at 570-323-

              9772. At the time the call is placed, all counsel shall be on the line

              and prepared to proceed.
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3.   The Court’s preference is that counsel do not participate in telephonic

     conference calls by cellular phone or other mobile device; however, in

     light of current circumstances necessitated by the COVID-19 virus

     pandemic afflicting our nation, which compel counsel to work outside

     of their offices, I will permit such telephonic conference calls to be

     made by cellular phone if that is the only means of telephonic

     communication for counsel.

                                             BY THE COURT:


                                             s/ Matthew W. Brann
                                             Matthew W. Brann
                                             United States District Judge




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